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                   IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE
____________________________________
                                           :
In re:                                     : Chapter 11
                                           :
STANADYNE, LLC, et al.,                    : Case No. 23-10207(TMH)
                                           :
                      Debtors.             : (Jointly Administered)
___________________________________________:

              OBJECTION OF THE TOWN OF WINDSOR TO THE
               DEBTORS’ MOTION FOR ENTRY OF AN ORDER
  (I) AUTHORIZING THE DEBTORS TO ABANDON OR, ALTERNATIVELY, SELL
          THE WINDSOR PROPERTY AND (II) FOR RELATED RELIEF

       The Town of Windsor (the “Town”), a creditor and party-in-interest in the above-captioned

jointly administered Chapter 11 cases, submits this objection to the Debtors’ Motion for Entry of

an Order (I) Authorizing the Debtors to Abandon Or, Alternatively, Sell the Windsor Property and

(II) For Related Relief (the “Motion to Abandon”) [Dkt. No. 486], and in support thereof avers as

follows:

                                        INTRODUCTION

       1.      Pursuant to the Motion to Abandon, the Debtors seek to abandon a 53-acre parcel

of property located at 90-92 Deerfield Road, Windsor, Connecticut, including three (3) large

industrial buildings (the “Windsor Property”), owned by Debtor Stanadyne, LLC (the “Debtor”)

and previously used by the Debtor as its corporate headquarters and manufacturing facility prior

to its re-location to North Carolina.

       2.      The Town objects to the proposed abandonment of the Windsor Property as such

abandonment is in contravention of state environmental laws designed to protect the public health

and safety from identified hazards.

       3.      The Town also objects to the alternative relief requested by the Debtors, namely,

their request for carte blanche approval of the sale of the Windsor Property without disclosing any

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terms of the sale, including but not limited to, the purchase price, whether the purported sale is

free and clear of all liens, claims and encumbrances and interests of the Town and any other

lienholder, and in the absence of proper notice to all creditors under Federal Rule of Bankruptcy

Procedure 2002(a)(2).

                                PROCEDURAL BACKGROUND

        4.       The Debtors filed the above-captioned cases on February 16, 2023, and an order

directing their joint administration was entered shortly thereafter. The Debtors continue to operate

as debtors-in-possession.

        5.       On April 27, 2023, the Debtors filed a motion seeking entry of an order approving

procedures for the sale of substantially all of the Debtors’ assets (the “Sale Motion”). [Dkt. No.

245].

        6.       On May 16, 2023, the Court entered that certain Order (I) Approving Bidding

Procedures, (II) Scheduling an Auction and a Sale Hearing, (III) Approving the Form and Manner

of Notice Thereof, (IV) Establishing Notice Procedures for the Assumption and Assignment and

Sale of Contracts and Leases, and (V) Granting Related Relief (the “Bidding Procedures Order”)

[Dkt No. 276].

        7.       The Sale Motion and Bidding Procedures Order specifically excluded the Windsor

Property from the sale of substantially all of the Debtors’ assets.

        8.       On June 20, 2023, the Debtors filed an Application for Entry of an Order

Authorizing the Retention and Employment of Jones Lang Lasalle Americas, Inc. as Broker for

the Debtors and Debtors In Possession with respect to the Windsor Property, Effective as of May

25, 2023, and Waiver of Information Requirements Imposed by Local Rule 2016-2(d) and (h) (the

“JLL Retention Application”) [Dkt No. 383].




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       9.      Pursuant to the JLL Retention Application, the Debtors indicated their intention to

separately market and sell the Windsor Property “to maximize value for the Debtors’ estates and

their creditors” and that the sale of the Windsor Property would likely generate between “$1.5

million and $4.0 million depending on certain potential liabilities assumed by a purchaser and the

final sale structure.” [Dkt. No. 383 at p.4].

       10.     The Listing Agreement attached to the JLL Retention Application provides that

JLL shall be the Debtors’ exclusive listing agent to sell the Windsor Property for a term of 180

days. [Dkt. No. 383 at p.5].

       11.     On July 10, 2023, the Court approved the JLL Retention Application on the terms

proposed by the Debtors (the “JLL Retention Order”). [Dkt No. 439].

       12.     On July 11, 2023, the Court entered that certain Order (I) Approving Asset Purchase

Agreement, (II) Authorizing the Sale of Substantially All of the Debtors’ Assets Free and Clear of

All Encumbrances, (III) Authorizing the Assumption and Assignment of Certain Executory

Contracts and Unexpired Leases, and (IV) Granting Related Relief (the “Sale Order”) [Dkt. No.

443]. Pursuant to the Sale Order, the Court approved the sale to Stanadyne Operating Company

LLC f/k/a S-PPT Acquisition Company LLC (the “Purchaser”), an entity formed at the direction

of the Debtors’ secured lenders.

       13.     Among other things, the Sale Order incorporates and approves the Settlement Term

Sheet by and among Cerberus Business Finance, LLC (the “Prepetition Agent”), in its capacity as

administrative agent and collateral agent for the lenders (the “Prepetition Secured Parties”), the

Purchaser and the Official Committee of Unsecured Creditors appointed in these Chapter 11 cases

(the “Committee”), and attached to the Sale Order as Exhibit D.




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       14.     Pursuant to the Settlement Term Sheet, “if and solely to the extent and for so long

as the Purchaser requests in writing that the Windsor, CT Property be maintained following the

Closing, the Purchaser shall fund the carrying costs actually incurred by the Debtors in connection

with such requested maintenance of the Windsor, CT Property, including without limitation,

insurance and real property taxes.” [Dkt. No. 433-1 at p. 129].

       15.     According to the Debtors, the sale to the Purchaser closed on July 31, 2023. [Dkt.

No. 486 at p.4].

       16.     On August 2, 2023, the Debtors filed their Motion to Abandon, pursuant to which

they seek to either abandon the Windsor Property pursuant to Section 554 of the Bankruptcy Code,

or alternatively, to sell the Windsor Property in the event “an actionable sale materializes prior to

abandonment.” [Dkt. No. 486 at p.8].

                                  FACTUAL BACKGROUND

       17.     As described above, the Debtors previously maintained their corporate

headquarters and manufacturing facilities at the Windsor Property.

       18.     During that time, the Debtors manufactured various fuel injectors and pumps and

other related products necessary for diesel and gasoline internal combustion engines.

       19.     As early as 1987, the Connecticut Department of Energy & Environmental

Protection (“CT DEEP”), f/k/a the Connecticut Department of Environmental Protection, cited the

Debtors for improper discharges associated with metal finishing operations and environmental

contamination associated with chemical storage, handling and disposal.

       20.     In conjunction therewith, the Debtors entered into two (2) consent orders with the

State of CT DEEP relating to the release of hazardous materials (Consent Order HM-786 issued

June 21, 1995) and water contamination (Consent Order WC4567 issued September 4, 1987).




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        21.      In Consent Order HM-786, CT DEEP noted thirty-two (32) violations of various

federal hazardous waste regulations, which were incorporated by reference into Connecticut’s

hazardous waste regulations. In order to rectify these violations as well as the violations noted in

Consent Order WC4567, the Debtors were required to undertake a variety of investigations and

remedial steps at the site. Attached hereto as Exhibit A is a true and correct copy of Consent

Order HM-786.

        22.      Additionally, the Windsor Property is subject to three (3) different filings under the

Connecticut Property Transfer Act, Conn. Gen. Stat. §22a-134 et seq. (the “CT Transfer Act”),

which is administered by the CT DEEP. The CT Transfer Act governs property that is likely to be

contaminated with hazardous substances and allocates responsibility for the investigation and/or

remediation of any contamination at a Transfer Act site to an entity known as a “Certifying Party.”

        23.      As a result of the CT Transfer Act filings, the Debtors have entered into a Remedial

Action Plan with CT DEEP that required the Debtors to investigate and remediate the Windsor

Property. The Debtors have yet to finalize that remediation, and in order to do so, the Debtors will

be required to develop, implement and maintain an engineered control program at the site and

place certain environmental land use restrictions on the site as well. The Remedial Action Plan is

not yet complete and requires on-going monitoring to protect the public and prevent human contact

with the contaminated groundwater and soil.

                                            ARGUMENT

   I.         The Debtors Have Not Satisfied the Standards for Abandonment under Section
              554 of the Bankruptcy Code

        24.      Section 554(a) of the Bankruptcy Code provides that, “[a]fter notice and a hearing

the trustee may abandon any property of the estate that is burdensome to the estate or that is of

inconsequential value and benefit to the estate.” 11 U.S.C. §554(a). “In order to grant a motion



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to abandon property, the bankruptcy court must find either that: (1) the property is burdensome to

the estate or (2) of inconsequential value and inconsequential benefit to the estate.” In re

Galloway, 2014 WL 4212621, at *6 (9th Cir. B.A.P. Aug. 27, 2014). “And in evaluating a proposal

to abandon property, it is the interests of the estate and the creditors that have primary

consideration, not the interests of the debtor.” Id. citing In re Johnson, 49 F.3d 538, 541 (9th Cir.

1995).

         25.    The Debtors have neither demonstrated that the Windsor Property is burdensome

to the estate nor have they demonstrated that the Windsor Property is of inconsequential benefit

and value to the estate.

         26.    In support of their abandonment argument, the Debtors submit that they incur

approximately $1 million per year with respect to the Windsor Property in the form of real estate

taxes, utilities, maintenance and insurance. [Dkt. No. 486 at p.5]. And yet, pursuant to the

Settlement Term Sheet attached to the Sale Order, it is the Purchaser of the Debtors’ assets

(excluding the Windsor Property) who is funding the carrying costs of the Windsor Property

including without limitation, maintenance, insurance and real property taxes. As such, the Debtors

are not presently incurring these costs in light of their agreement with the Purchaser and the

Committee.

         27.    Nor have the Debtors demonstrated that the Windsor Property is of inconsequential

value and inconsequential benefit to the estate. The Debtors submit that despite their extensive

marketing efforts, and the “subsequent marketing effort by JLL, during which the Debtors

thoroughly marketed the Windsor Property for sale, the Debtors have not yet found acceptable

purchasers for the Windsor Property.” [Dkt. No. 486 at p.8].




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       28.     Notwithstanding the Debtors’ representations, it appears that JLL only marketed

the Windsor Property for sixty (60) days notwithstanding the terms of the Listing Agreement that

provides for a listing term of 180 days. The Debtors provide no explanation as to why JLL has

given up its marketing efforts after only two (2) short months. Given the environmental concerns

at the property, it is likely that any potential purchaser would need to undertake significant due

diligence prior to making an offer and thus, more than two months would be needed for the

marketing of a property of this type.

       29.     In addition, even if the Windsor Property is abandoned, any clean-up costs that are

incurred by the CT DEEP as a result of the Debtors’ failure to remediate as required by the consent

orders will likely constitute an administrative expense of these estates notwithstanding

abandonment. See Com. Of Pa, Dept. of Environmental Resources v. Conroy, 24 F.3d 568, 570

(3d Cir. 1994) (agreeing with decisions holding that “response costs incurred by environmental

agencies should be classified as administrative expenses” [citing authorities], reasoning “that since

the estate could not avoid such costs through abandonment, the ‘expenses to remove the threat

posed by such substances are necessary to preserve the estate’.”) (quoting In re Chateaugay Corp.,

944 F.2d 997, 1010 (2d Cir.1991)). Thus, it would make more sense to continue to market the

Windsor Property for sale in order to attempt to alleviate these potential administrative expenses.

       30.     Moreover, it appears that the Debtors’ counsel responsible for all legal services

relating to the Windsor Property has received multiple expressions of interest as to the Windsor

Property and, in some instances, the execution of non-disclosure agreements by prospective

purchasers as late as mid-July. [Dkt. No. 490-3, at pp. 3, 4, 13, 17, 23, 25, 27, 28].

       31.     The Debtors have failed to explain why the marketing efforts have ceased and/or

why the negotiations with the potential purchasers have not come to fruition, instead, providing




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only a generalized statement to the Court and the creditors that they have been unable to find an

acceptable purchaser.

         32.      For these reasons, the Debtors have not met their burden of proof in support of their

Motion to Abandon the Windsor Property.

   II.         The Proposed Abandonment Poses a Threat of Imminent and Identifiable Harm
               to the Public Health and Safety

         33.      As the Supreme Court has made clear, “[n]either the Court nor Congress has

granted a trustee in bankruptcy powers that would lend support to a right to abandon property in

contravention of state or local laws designed to protect public health or safety.” Midlantic Nat.

Bank v. New Jersey Dept. of Environmental Protection, 474 U.S. 494, 502 (1986). “Congress has

repeatedly expressed its legislative determination that the trustee is not to have carte blanche to

ignore nonbankruptcy law. Where the Bankruptcy Code has conferred special powers upon the

trustee and where there was no common-law limitation on that power, Congress has expressly

provided that the efforts of the trustee to marshal and distribute the assets of the estate must yield

to governmental interest in public health and safety.” Id.

         34.      Moreover, the “Bankruptcy Court does not have the power to authorize an

abandonment without formulating conditions that will adequately protect the public’s health and

safety.” Id. at 507-08. See also, In re American Coastal Energy, Inc., 399 B.R. 805 (Bankr. S.D.

Tex. 2009); In re Wall Tube & Metal Products Co., 831 F.2d 118 (6th Cir. 1987); and In re

Microfab, Inc., 105 B.R. 161 (Bankr. D. Mass. 1989).

         35.      Here, it is undisputed that the Windsor Property has long been environmentally

contaminated and that it poses a risk to the public health and safety.




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           36.      In the absence of the completion of the Remedial Action Plan as required by the

CT DEEP, there is a significant risk that the contamination could spread and infiltrate the

groundwater, nearby wetlands and the Connecticut River.

           37.      In addition to the environmental concerns that the Town faces, in the event of

abandonment, the Debtor will no longer be responsible for maintaining the property, providing

security on the premises or otherwise ensuring that the buildings on the property adhere to the

local building code requirements, and, in particular, fire safety codes. These issues raise serious

safety concerns.

           38.      In the absence of proper maintenance of the Windsor Property, the property will

fall into disrepair and become blighted. Moreover, the Windsor Property abuts the Windsor

Meadows State Park and in the absence of security, the buildings on the property may become an

attractive nuisance to passersby. However, the biggest concern is the potential that the unprotected

buildings will become a fire hazard.            The Town should not be saddled with a 53-acre

environmentally contaminated parcel of property that threatens the well-being of the Town’s

citizens.

    III.         The Debtors Request for Approval to Sell the Windsor Property Should Be
                 Denied In the Absence of the Disclosure of the Sale Terms and Proper Notice

           39.      The Debtors seek alternative relief in their Motion to Abandon “in order to provide

maximum flexibility to the estates.” [Dkt. No. 486 at p.8]. That alternative relief is permission to

sell the Windsor Property pursuant to Section 363(b) of the Bankruptcy Code in the exercise of

the Debtors’ business judgment. Moreover, while it is not expressly stated, it is presumed that the

Debtors seek permission to sell the Windsor Property free and clear of all liens, claims, interests

and encumbrances.




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       40.     The Town objects to the Debtors attempt to sell the Windsor Property without

giving proper notice to all of the creditors and disclosing the sale terms and without complying

with Fed. R. Bankr. P. 6004(c), which requires a separate motion for a sale free and clear of liens

and other interests to “be made in accordance with Rule 9014 and … served on the parties who

have liens or other interests in the property to be sold.”

       41.     The Debtors state that if an acceptable purchaser materializes, that they will seek

approval “on the return date of this Motion” and provide a supplement to the Motion. [Dkt. No.

486 at p. 10]. However, providing such information at the 11th hour fails to satisfy basic

requirements of due process and notice to the affected parties who have interests in the property,

such as the Town.

       42.     Moreover, the Town has inchoate liens on the Windsor Property for future real

estate taxes arising under Connecticut state law, Connecticut General Statues § 12-172.        The

Debtors simply cannot sell the Windsor Property free and clear without satisfying the requirements

of Section 363(f) of the Bankruptcy Code and Fed. R. Bankr. 6004(c).

       WHEREFORE, for all of the foregoing reasons, the Town of Windsor respectfully requests

that the Court deny the Debtors’ Motion to Abandon and for such other and further relief as is

necessary and just.



                            [SIGNATURE ON FOLLOWING PAGE]




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                                           Respectfully submitted,

                                           MCELROY, DEUTSCH, MULVANEY
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